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                                EXHIBIT I
                                                                      TAYLOR074
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                                                                      TAYLOR081
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                                                                      TAYLOR083
4/23/2020                                                  SD-003181 - Salesforce - Enterprise Edition

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                        Task   lilf
                   Due Date 8/28/2017
                Assigned To Scott Barrett
   Last Modified Daterrime 8/29/2017 5:49 AM
                 Comments Review this Student Care Contact



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